                       Case MDL No. 3002 Document 37 Filed 04/22/21 Page 1 of 1
UNITED STATES JUDICIAL PANEL ON MULTIDISTRICT LITIGATION


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MDL No. _____________                                            $FFHOOLRQ,QF'DWD%UHDFK/LWLJDWLRQ
                                             & T ITLE - IN RE: __________________________________


                                                    NOTICE OF APPEARANCE
                         Appearances should only be entered in compliance with Rule 4.1(c).

PARTIES REPRESENTED (indicate plaintiff or defendant--attach list if more than one
action):
         'HIHQGDQW$FFHOOLRQ,QF




SHORT CASE CAPTION(s) (Include District(s), Civil Action No(s).-- attach list if more
than one action):
                  6HHDWWDFKHGSFKHGXOHRI$FWLRQV


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        In compliance with Rule 4.1(c), the following designated attorney is authorized to file and
receive service of all pleadings, notices, orders, and other papers relating to practice before the
Judicial Panel on Multidistrict Litigation on behalf of the plaintiff(s)/ defendant(s) indicated. I am
aware that only one attorney can be designated for each party.

                    $SULO22                                                                       V0ichael H. Rubin
                           Date                                                                     Signature of Attorney or Designee

Name and Address of Designated Attorney:
Michael H. Rubin
Latham & Watkins LLP, 505 Montgomery Street, Suite 2000, San Francisco, CA 94111-6538

Telephone No.:                                                                            Fax No.:               9


Email Address: michael.rubin@lw.com

Instructions:

1. From the JPM L hom e page, download N otice of Appearance. Fill out form and save in .pdf format. (All docum ents filed with the Judicial Panel m ust be in PD F Format.)
T he Appearance Form is to be filed as the m ain PD F docum ent. Any docum ents subm itted with the Appearance F orm are attachm ents.
2. Select M D L from the m enu bar at the top of the E CF screen.
3. Click on N otices. Select the appropriate N otice of Appearance. Select N ext.
4. Enter the three or four digit M D L num ber (ex. 875). Select N ext.
5. V erify M D L num ber, if correct Select N ext.
6. Choose the case(s) for which the Appearance is being filed. Select N ext.
7. Select Party. Select next twice.
8. U pload the Appearance Form as the M ain docum ent and all other docum ents as attachm ents. Be sure to choose a category and description. Select the docum ent to which
the Appearance relates. (N ote: Appearances filed in new litigations will be linked to the initial M otion for T ransfer and Appearances filed in transferred litigations should be
linked to the Conditional T ransfer Order (CT O).
9. Select the next button and verify docket text. If correct continue to select next to com plete the transaction.




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